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                      UNITED STATES DISTRICT COURT
                  IN THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MICHAEL COZZI, et al.                    )
                                         )
Plaintiffs,                              )
                                         )
v.                                       )       Case No. 21 CV 00998
                                         )
VILLAGE OF MELROSE PARK,                 )
et al.,                                  )
                                         )
Defendants.                              )


                     DEFENDANTS’ PROPOSED PROTOCOL
        NOW COME the Defendants, the VILLAGE OF MELROSE PARK and

Mayor RONALD SERPICO, by and through its attorney Cynthia S. Grandfield of

Del Galdo Law Group, LLC and in relation to the Proposed Protocol states:

     1. Attached as Exhibit 1 is the proposed protocol sent to Plaintiffs’ counsel on

June 1, 2022 via email.

     2. The Defendants believe that the proposed protocol attached as Exhibit 1 is

sound. It does not require the Plaintiffs to turn over anything to a “designated

third-party” as requested in the alternative in Defendants’ motion to compel but

does require Plaintiffs to select an independent custodian of their choosing to

perform the searches to ensure that it is produced in its native format, particularly

as Plaintiffs have had difficulty with this before and because of the need to use

certain methods such as “screen capturing,” and that all responsive information is

retrieved. The qualifications of the custodian were kept purposefully broad as

“appropriate and requisite technical knowledge.” It further specifies that the

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Defendants’ counsel will never have possession of any information obtained by the

independent custodian that is non-responsive.

   3. However, the Defendants have also attached an “Alternate Proposed

Protocol” as Exhibit 2 that is the same except that all provisions referring to an

independent custodian are deleted should the Court determine that is more

appropriate.

                                               Respectfully submitted,
                                               Defendants

                                               By: /s/ Cynthia S. Grandfield
                                                   Cynthia S. Grandfield



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